Case 1:21-cv-00449-PLM-PJG

, Approved, SCAO

    
  

ECF No. 1-1, PagelD 21 Page 1of15

d copy - Plaintiff
copy - Return

Original - Court
ist copy - Defendant /

 

 

 

AS
STATE OF MICHIGAN | 9 Pee SICASENO. .
JUDICIAL DISTRICT \ 4 oer
JUDICIAL CIRCUIT SUMMONS \o ce) a 2 46 6 {D
COUNTY PROBATE \S LEGAL DEPARTMENT @
aa
Court address 180. Ottawa ‘Avenue NW, iy f Court telephone no.

Grand Rapids, Mil 49503 -

 

 

's name(s), eeNA and telephone no(s).
landa. L. Maraan
Lo rceweo St NE

Esrand Rapids, ML 49505

Plainti

Defendant's name(s), address(es), and telephone no(s).

Poe Rou e a Nodhlake Corrathional
" Boca. Raton eleenes Deja) facility

 

Plaintiffs attorney, bar no., address, and telephone no.

 

4
Bureau of Pasian
320 Firck Street NW
Washington , DC 20544

 

 

 

 

 

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with your complaint and,
if necessary, a case inventory addendum (form MC 21). The summons section will be completed by the court clerk.

reste Relations Case

here are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
family members of the person(s) who are the subject of the complaint.
[_] There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint. | have separately filed a completed
confidential case inventory (form MC 21) listing those cases.
LJ It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint.

Civil Case

CJ This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
LJ MDHHS and a contracted health plan may have a right to recover expenses in this case. | certify that notice and a copy of
the complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).
here is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the

complaint.

1] A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

Court, where

 

been previously filed in L]this court,

it was given case number

and assigned to Judge

 

The action Clremains Llis no longer pending.

Summons section completed by court clerk.

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:

4. You are being sued.

2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
serve a copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were

served outside this state).

3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief

demanded in the complaint.

4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter
fo help you fully participate in court proceedings, please contact the court immediately to make arrangements.

 

issue date nia spree date*
ae 35S

18 2021 “IN

 

Court clerk

 

 

*This summons is invalid unless served on or before

Mc o1 (9/19) SUMMONS

expiration date. This document must be sealed by the seal of the court

MCR 1.109(D), MCR 2.102(B), MCR 2.103, MCR 2.104, MCR 2.105
Case 1:21-cv-00449-PLM-PJG

Aporoved, SCAO

Original - Court

ist copy - Defendant

ECF No. 1-1, PagelD.7 Filed 06/02/21 Page 2 of 15

2nd copy - Plaintiff
3rd copy - Retum

 

STATE OF MICHIGAN
JUDICIAL DISTRICT
JUDICIAL CIRCUIT |
COUNTY PROBATE |

COMPLAINT
Page | of i pages

CASE NO.

)\ 02466 EY

 

Court address

180 Ottawa Avenue NW
Grand Rapids, Ml 49503

 

Plaintiffs name (s), address (es), and telephone no (s).

Alonda L. Morgan

641 Russwood St. NE.

Grand Rapids, MI 49505

(340) 244-8494

ms.morgan awomaninchrist(@) yahoo.com
Plaintiff, in Proper Person

Court telephone no.

 

 

 

Plaintiff's attorney, bar no., address, and telephone no.

 

 

 

Plaintiff's name (s), address (es), and telephone no (s).

Geo Group Inc.

4955 Technology Way
Boca Raton, FL 3341
(561) 893-0101

Northlake Correctional
(D\B\A) Facility
1805 W. 32nd. St.
Baldwin, MI 49304
(231) 876-4914 -
Bureau of Prison
320 First Street NW
Washington, DC 20534
(202) 307- 3198

 

17" CIRCUIT COURT

KENT COUNTY, MICHIGAN

Alonda Morgan,

Plaintiff,

Vs.

Geo Group, INC. D\B\A Northlake Correctional Facility;

Bureau of Prisons;
DOES I through X, inclusive, and ROE

Business Entities I through X, inclusive,

Defendants,

D182)

Date

MC Ota (6/19) COMPLAINT

 

La K
Signature

 
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.8 Filed 06/02/21 Page 3 of 15

 

Original - Court 2nd copy ~ Plaintiff
Approved, SCAO tst copy - Defendant 3rd copy - Return
STATE OF MICHIGAN | ‘CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page 2 of i pages
COUNTY PROBATE

 

 

Court telephone no.

Courtaddress 389 Oltawa ‘Avenue NW
Grand Rapids, MI 49503

 

 

Defendant's name(s), address(es), and telephone nofs).

aintiffs name(s), address(es), and telephone no(s).

A Kore.’ LM ocaan eo, Loup Tee. Nodhake C scctl orl
aaa E v | gi955, Tedwo DBI) facili
Band Papids, ML 45055 Boca. Raton, Pie ssy4 }

a
Bureau of Pesan
520 First Street NW
Washing ton DC 20544

 

Plaintiffs attorney, bar no., address, and telephone no,

 

 

 

 

 

 

COMPLAINT

Plaintiff, Alonda Morgan, in proper person, complains against Defendants, Geo Group, INC.;
Bureau of Prisons; DOES I through X, inclusive; and ROE Business Entities I through X.
inclusive, as follows:

I. PARTIES

1. Plaintiff, Alonda Morgan, (hereinafter “Plaintiff’), is an individual who is currently, and
was at all relent time herein, a resident of the State of Michigan, County of Mecosta, City
of Big Rapids.

2. Defendant, Geo Group, Inc. D\B\A Northlake Correctional Facility; (hereinafter “Geo
Group”), is a corporation organized and existing by virtue of the laws of the State of
Michigan, and may be served with process by service upon its registered agent,

if one has or at the above

 

address.

3. Bureau of Prisons (hereinafter “Geo Group”), is a corporation organized and existing by
virtue of the laws of the State of Michigan, and may be served with process by service
upon its registered agent, if one
has or at the above address.

Date Signature
ts
Mc 01a (6/19) COMPLAINT
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.9 Filed 06/02/21 Page 4 of 15

Original - Court 2nd copy - Plaintiff

 

 

 

 

 

 

 

 

Approved, SCAO 1st copy - Defendant 3rd copy - Return
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page iz of i4 pages
COUNTY PROBATE
Court address 180 Ottawa ‘Avenue NW” Court telephone no.
Grand Rapids, Ml 49503
Plaintiffs name(s), eA and telephone no(s). Defendant's name(s), address(es), and telephone no(s).
Alara. L, Meraan eo Group Ine. Northlake Lorelbiornl
Lo4 | * cain St NE v 4q55 ‘Techvology Woy (Deja) facility
Exrand Pagi ids, ML 49505 Boca Raton, Fe "595 3]
Bureau of Prsian
intiff's att dD ., address, and telephone no.
Plaintiff's attorney, bar no., a 520) can Ciraph i W
Washing ten , DC 20544

 

 

 

 

 

4. All of the acts and or failures to act alleged herein were duly performed by and/or are
attributable to defendants, individually or acting by and through their agents and
employees. Said acts/or failures to act were with the scope of any agency or
employment, or were ratified by the defendants.

5. The names and capacities, whether individual, corporate, associate or otherwise, of
defendants sued herein as DOES I through X, and ROE Business Entities [ through X,
inclusive, are presently unknown, and Plaintiff will amend this complaint to insert the
name (S) when ascertained.

ILFACTS

6. Plaintiff is the owner of 5567 S. WHALEN LAKE DRIVE BALDWIN, MI property and
education instructor at Northlake Correctional Facility.
Defendant (s), s Geo Group Inc. and Bureau of Prisons is the corporation and client,
located at 1805 W. 32". Street, Baldwin, MI 49304.

ZIBL Abakcf Mae

Date Signature

MC 01a (6/19) COMPLAINT
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.10 Filed 06/02/21 Page 5of15

 

 

 

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO 1st copy - Defendant 3rd copy - Return
' STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page a of 14 pages
COUNTY PROBATE
Court address 180: Oftawa Avenue NW : Court telephone no.
Grand Rapids, Mi 49503 °
Plainti A, name(s), A and telephone no(s). Defendant's name(s), address(es), and telephone no(s). hk.
londa. L. Nioraan eo Group Tne. Nadhlake Lorelbiornl
lof Russcweoad St NE y Hq55 Techvology Vay CdBIA) testi y
Bsrand Pagi ids» ML 49505 Baca, Raton, Fie Yrs
4
Plaintiff's attorney, bar no., address, and telephone no. Bureats of Ve SIOM

 

320 Firsk Street NW
Washington , DC 20544

 

 

 

7. Problems within Northlake Correctional Facility first became apparent to me on February

2/21/20 between 3:30pm -4:30pm. This is when I saw the Chief of Security Stephan
Castiglione on the ground looking towards me on my way out the facility. I was
frightened and someone was there with him, so J just prayed and continued out the door
home.

Again on 3/6/20 Amanda Floyd (Director of Case Management), started yelling in her
office and I truly believe that it was directed towards me, but I never had any contact with
her. I did not go to the back to the back room by myself again until around 4/15/20.
There were two people in the back Gat and Floyd nobody moved, then suddenly
somebody came from the office as if maybe coming after me and I ran out of the office
not to go back there by myself.

On 3/9/20 Amanda Floyed and Kory Kusick (Assistant Facility Administrator), stood at
the ODR door as to what I now realize as an act of intimidation towards me between
7:45am-8:00 am;

10. The day that I felt that a criminal act was truly done to me was on March 17, 2020. I the

Date

MC Ota (6/19)

Plaintiff spoke with the director of education between the hours of 12:30-1pm about how
I was left in the cafeteria by myself with the inmates and their behavior seemed malicious
and unusual towards me. During class I had experience the same thing only this time my

students started to act like they did not understand English.

 

Signature

COMPLAINT
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.11 Filed 06/02/21 Page 6 of 15

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO 4st copy - Defendant 3rd copy - Return
’ STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page 5 of 4 pages
COUNTY PROBATE

 

 

 

Court telephone no.

Court address 180 Ottawa ‘Avenue NW
Grand Rapids, MI 49503

 

 

Defendant's name(s), address(es), and telephone no(s).

Plaintiff's name(s), address(es), and telephone no(s).
ww Aerde- L. Nom ae Geo _ broup oe Nethake Cocrathioral
SSUNDD Vv echno Ja cli
Esrand Padi ids» ML 49505 Boca Rat ton, Cie see 2 ) fee ity

aI
Bureau of Pasian
520 First Stree+ NW
Washington , DC 205444

 

Plaintiff's attorney, bar no., address, and telephone no.

 

 

 

 

 

 

11. At that March 20, 2021 meeting with the Education Director and discussion with her my
concern she did not offer any help or solutions on what to do about my concern she just

sat there.

12. The Plaintiff did not return to work for three days because of fear.

13. The Plaintiff, returned to work On 3/26/20 Robin Cross (Health Service Administrator)
waited until a group of employees came in and started saying loudly how some people
should be glad to have a job. I believe this is the very day that Ms. Cameron a co-worker
that I talked with stopped talking and coming around me.

14. On April 23, 2020 the Plaintiff, was touched by an inmate and a memorandum was
written about it. I was never called into the office to discuss the matter. At this point my
fear was building and did not ask about it.

15. The Plaintiff, on 5/7/2020 or 5/8/2020 May between hour of 2 and 3pm experienced
what I view as an intimidating acting coming from most department heads (including
those who may are no longer employed at this particular facility —Kory Kusick (AFA-
Operation), Mark Pitcher (Executive Assistant Manager). I was called to come down to
the administration part of the building only to find most if not all department heads
standing outside their doors or running to be AT as I walked by

MC Ola (6/19) COMPLAINT

 
 
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.12 Filed 06/02/21 Page 7 of 15

 

 

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO {st copy - Defendant 3rd copy - Return
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page lo of i4 pages
COUNTY PROBATE
Court address 180 Ottawa Avenue NW : a Court telephone no.
Grand Rapids, MI 49503
Plainti AN, name(s), address(es), and telephone no(s). Defendant's name(s), address(es), and telephane no(s).
Bul o L. Nom one Geo G brow one Nethake Corrathionn!
SS\NID 1 e cAno
v y A) Facility
Esrand Papids, ML 49505 Roce. Raton, rid sae i
3
Plaintiff's attorney, bar no., address, and telephone no, Purea of Pe KIBO
320 Firsk Street NW
Washing ton » DC 20544

 

 

 

 

 

 

16. On 5/19/2020 the Plaintiff, was suddenly not able to renew my lease after two years and
the explanation was that a friend needed a place to stay (beginning of COVID). (Outside
Retaliation in Big Rapids, MI)

17. On 6/4/2020 the Plaintiff attended a Mentorship Program Meeting and was over looked
as being part of the program. I was not notified or gotten back to in order to participate. I
did ask Jenna (Department Head for Training) about it and she the training was already
started.

18. On 6/16/2020 director Rush wrote a letter what was supposedly for the department and
signed it “all for one and one for all”. Which I felt like it was not all inclusive to include
me because of what I had been enduring over the last few months.

19. On 6/21/2020 the Plaintiff, rented a trailer from a local tractor supply company to help
take the brush from my land to the dump and everything went smoothly. However, on
6/27/2020 when I came to rent the trailer they started making changes they said and a
new way they had to do things. That very day as I went to dump my brush the dump yard
in my county had placed a wooden log in the middle of the drive path so no one could
dump their brush. I have worked on my land and went to the brush yard and they never
did anything like this before. (Outside Retaliation in Baldwin, MI)

x JeR Abc? Tee -

Date Signature

MC 01a (6/19) COMPLAINT
Case 1:21-cv-00449-PLM-PJG

Approved, SCAO

ECF No. 1-1, PagelD.13 Filed 06/02/21 Page 8 of 15

Original - Court

1st copy ~ Defendant

2nd copy - Plaintiff
3rd copy - Return

 

STATE OF MICHIGAN |
JUDICIAL DISTRICT
JUDICIAL CIRCUIT
COUNTY PROBATE

 

COMPLAINT
Page “7 of 4 pages

CASE NO.

 

 

Court address 180: Citawa ‘Avenue NW
Grand Rapids, MI 49503

 

Plaint A name(s), KA and telephone no(s).

landa. L. Meraan
bo4 | * con St ONE

Esrand Papids, ML 49505

 

Plaintiff's attorney, bar no., address, and telephone no.

 

 

 

Court telephone no.

 

 

Defendant's name(s), address(es), and telephone no(s).

eo Group Tne. Nadhlake Forreioral
4955. Technology ‘ Aiby
Baca. Raton rey: ie) (rela) Facility

a4
Bureau of Prsian
320 First Street NW
Weshing ton , DC 205354

 

 

20. On 6/28/2020 the Plaintiff, working in the cafeteria the inmate workers started placing
the food trays a in the shape of a house. They did not do it before and at one point they
wrapped blue wrapping around one of the carts —as to indicate that someone has been
following me outside of work and knows the truck color of the worker who has been
helping clear my land. (Retaliation/ Psychological Harassment in Baldwin, MI)

21. On 6/29/2020 I the Plaintiff, wrote another memorandum about two co-workers and how
I felt like the reason I was being attacked was because of my race. I was being kind by
trying to give a wow card to one of them and she refused so I simple said that black lives

matter and walked away.

22. On 6/29/2020 around lunch time a group of inmates came in from outdoors as I was
pushing carts. I was the only education staff in the hallway. They were whistling and
yelling. Not one staff did anything the central control did shut the gate.

23. On June 30, 2020 I received an evaluation from director Rush and she told me that she
had been receiving emails about me not talking to people (which she never was able to
produce) and it created a hostile atmosphere. I did not sign the evaluation because it was
done right false.

 

MC 01a (6/19) COMPLAINT

 

 
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.14 Filed 06/02/21 Page 9of15

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO ist copy - Defendant 3rd copy - Retum
STATE OF MICHIGAN CASE NO.
SO BICIN DISTRICT COMPLAINT
COUNTY PROBATE

 

 

 

Court telephone no.

Court address 180 Ottawa ‘Avenue NW
Grand Rapids, Mi 49503 |

Plain A, name(s), address(es), and telephone no(s). Defendant's name(s), address(es), and telephone no(s).

 

 

onda. Le Moran. reo Group Loe. Nodhlake Carer
Russwoa : 455 Tecyo Dela) tal:
Esrand Papi ids, ML 495e55 Boca Raton, & WY sse Is) fa ity

 

a
Bureau of Prisian
520 Firsk Street NW
Weshing ton, DC 20544

Plaintiff's attorney, bar no., address, and telephone no.

 

 

 

 

 

 

25. On or around October 10, 2020 I made a report to the EEOC to complain of racial
motivated treatment that has been allowed to take place against me by the the above
mentioned carried out by those who are in supervisory or leadership positions. I
scheduled a interview for the next available time slot which was to take place February
17, 2021 at [pm (over 4 months later). I called and spoke with a Georgia about ten
minutes after I did not receive a call. She said that there had been no attempt documented
that any tried to call. I gave my email address and told her to let whoever is supposed to
call to email a phone number if they were not able to reach me by phone and I will call
them. Furthermore, I noticed that the Bureau of Prisons name was taken off of the
complaint and wording was changed in my written statement.

26. On February 18, 2021, the EEOC emailed me and said that they could push through some
cases.

27. On or two weeks before July 7, 2020 between the hours of 3:30pm-4:30pm again I saw
something happening that look as if it was directed towards me as it pertained the Chief
of security Stephan Castiglione. At this point I am just scared and went out the door.

28. On July 13, 2020 I the Plaintiff, went to my land and notice a company cutting some
trees in the area. I hired them on the spot with the understanding that the job would be
done within the next three days. After a worker received a phone call they hurried up and

 

Mc 01a (6/19) COMPLAINT
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.15 Filed 06/02/21 Page 10 of 15

 

 

 

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO 1st copy - Defendant 3rd copy - Return
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page q of | pages
COUNTY PROBATE 4
Court address 180 Gitawa ‘Avenue NW 7 Court telephone no.
Grand Rapids, MI 49503:
eA, name(s), address(es), and telephone no(s). Defendant's name(s), address(es), and telephone no(s).
londo. L. Nocaan beo Grup Ine. Nodhlake Lorcelhionl
boi Russwead St NE v 4q55 ‘Tedvelogy oy (Dafa) facility
Esrand Pepi ids, ML 495@55 Baca. Raton, Fie S343
i
Plaintiff's attorney, bar no., address, and telephone no. Bureats of Ve WOM

 

520 First Street NW
Washing ton , DC 20544

 

 

 

 

Date

29.

30.

31.

32.

left not finishing the job until about two weeks later and hey left holes in the yard from
the stump removal (Outside Retaliation in Baldwin, MJ) (I do have pictures)

On 7/23/20 between 3pm-4pm. Inmates were allowed to sexually harass me by
whistling and making gawking sounds right down the hall from the Lieutenants office
and several of them were in the room and not one of them did anything about it. These
were the loud whistles when you place two fingers in your mouth. (Retaliation, Sexual
Harassment, Unlawful employment practice in Baldwin, MJ)

Throughout the months of ending of June until around the mid to end of August the
shape of the food trays continued. (Retaliation, Psychological Harassment, in Baldwin,

MI)

Jamie Grimely (BOP)- August 18, 2020 between the hours of 3-5pm. As I was walking
out to go home and Mr. Grimely, Mr. Bryan BOP, and Dunbar participated in what has
always been an intimating ritual (See Angela Dunbar for the continued excerpt), The
following day my car was vandalized (I do have pictures)

Jeremy Bryan (BOP)- August 18, 2020 between the hours of 3-Spm. As I was walking
out to go home and Mr. Bryan, Mr. Grimely, and Dunbar participated in what has always
been an intimating ritual (See Angela Dunbar for the continued excerpt). Additionally,
on February 24, 2021 between That day my car was vandalized on the other side ina
similar spot in the workplace parking lot-I didn’t have my phone, but I did eventually
take a picture however I called the NAACP in distress first in Texas then in Grand
rapids right after I left the worksite. I was told that they do not service my area and did I

 

—ignatire”

Sen >= we SC

Mc 01a (6/19) COMPLAINT
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.16 Filed 06/02/21 Page 11 of 15

2nd copy - Plaintiff
3rd copy - Return

Original - Court

Approved, SCAO 1st copy - Defendant

STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page jo of ji) pages
COUNTY PROBATE

Court address 120 Ottawa Avenue NW
Grand Rapids, MI 49503 |

Court telephone no.

 

 

eX name(s), address(es), and telephone no(s).
lo. L. Meraan
bY! Riscwond St NE

Esrand Pai ids, ML 49585

Defendant's name(s), address(es), and telephane no(s).

{seo Grup Tac.
. Boca. Raton, &
So93|

 

[Plaintiff's attorney, bar no., address, and telephone no.

Bureau of Prsian

Nadhlake Corrathionnl
4955 Techol yy CdafA) teeth
Doe y

320 First Street NW
Washing ton , DC 20544

 

 

 

 

 

 

33. On the morming Oct 1, 2020 I the Plaintiff gave a memorandum to Warden Tracy Johns
about being left in the inmate POD alone as a woman and needing locks for testing
material.

34. The response was retaliation in the form of the Defendant Mr. Johns in a confrontational
manner giving me in his words, “a direct order” to write out the meaning of SBU. I did
write out the meaning and gave it to him only to receive what seemed to be continued
retaliation m an unprofessional manner of raising his voice to the point of it causing me
to dry heave in the middle of his attack and throwing up in the restroom. The coworker
that saw me go into the restroom a week or so later was let go (The second confrontation
was about testing material) This took place on 10/14/20 around 1lam-Noon.

35. On the morning of 10/14/20 between 11am-Noons I was updating my syllabus only to

find that someone had placed on my syllabus the book or statement that said “The ape in
the corner office: Understanding the workplace beast in all of us, New York: Crown
Business.” I was so distraught that I literally could not print the paper to show my
director that I had a coworker do it for me. (This is the same coworker that was let g0 a
week or so later).

 

Date Signature

S821 bab PUN ep

MC 01a (6/19) COMPLAINT
Case 1:21-cv-00449-PLM-PJG

Approved, SCAO
STATE OF MICHIGAN
JUDICIAL DISTRICT
JUDICIAL CIRCUIT
COUNTY PROBATE

Courtaddress 489 Ottawa ‘Avenue NW.
Grand Rapids, MI 49503
ren s name(s), RA and ‘telephone no(s).

land. Le Moraa@n
lo | Ncowion St NE

Esrand Pao ids, ML 49505

ECF No. 1-1, PagelD.17 Filed 06/02/21 Page 12 of 15

Original - Court

1st copy - Defendant

COMPLAINT
Page }, of 14 pages

 

Plaintiff's attorney, bar no., address, and telephone no.

 

 

 

2nd copy - Plaintiff
3rd copy - Return

CASE NO.

 

Court telephone no.

 

Defendant's name(s), address(es), and telephone no(s).
{seo fSrou. Q Tne.

49455 Tecvol
Boca. Raton, oy, wy (OBI) faci

oh
Bureau of Prisian
520 First Stree+ NW
Washington , DC 20544

Nadhlake Corre

ity

ioral

 

 

 

36. Director Rush 10/14/20 between 11am-Noons was given the paper that a coworker
(Tasha Cook) helped print that morning and just asked to have it placed in my work file.

37. On 11/2019 I the Plaintiff went into the local Lens Crafters only to receive the wrong
prescription from the optometrist. I got so busy with life that I did not have time to go
back and fix the issue. On 1/4/21 I again went to get my yearly eye exam from W
Optical and the exam was done remotely, but my contact exam was done by Kentwood
Pearle Vision (not done remotely)- the following week and given a so called glass
prescription exam free 1/19/21. The eye glass prescription was similar to the previous
year that I noticed something was wrong. However, the remote prescription fit my usual
Rx range. (Outside Retaliation in Grand Rapids, MI)

38.

On 10/30/20 I the Plaintiff took my car to Firestone because I heard something going on

with my tire. Only to have them go under my hood and say something was wrong with
my water pump and fan clutch. My car has not sounded right since. (Outside Retaliation

in Grand Rapids, MI)

39.

On 11/4/20 after coming in and asking questions about the different car alarms and what

I was looking for. I purchased an alarm from Micky Shorr only to find that it did nothing
that I asked for. A Police report was taken. (Outside Retaliation in Grand Rapids, MI)

pho UNA

ZS:

Date

L\

McC 01a (6/19) COMPLAINT

Ay
Case 1:21-cv-00449-PLM-PJG ECF No. 1-1, PagelD.18 Filed 06/02/21 Page 13 of 15

 

 

 

 

 

Original - Court 2nd copy - Plaintiff
Approved, SCAO ist copy - Defendant 3rd copy - Return
STATE OF MICHIGAN CASE NO.
JUDICIAL DISTRICT COMPLAINT
JUDICIAL CIRCUIT Page [2 of 4 pages
COUNTY PROBATE
Court address 180 Ottawa Avenue NW a Court telephone no.
Grand Rapids, MI 49503
mi name(s), address(es), and telephone no{s). Defendant's name(s), address(es), and telephone no(s).
lendo. L. Niors on Geo brup Tne. Nodhlake Corvalhional
lof Russwea V AI55 Tedvol y Wey (Ble/A) telit
Es ids Boca. J ay
rand Papids, ML 49505; Raton, Fi2 "=s4s4
a
Plaintiff's attorney, bar no., address, and telephone no. Bureau of De SOM
520 First Sireed+ NW
Washing ton , DC 20544

 

 

 

 

 

I. CLAIMS FOR RELIEF.

Plaintiff Alonda Morgan is a respected professional and has spent her life building a positive
reputation. Nevertheless, the defendants have defamed her name and character not only in the
community where she does her business, but in the town where she decided to make a home for
her and her mother. As a result of the Defendant’s actions, the Plaintiff is sustaining sleepless
nights, loss of work, mental anguish and irrevocable emotional harm, and strain on her and her
family and living situation (currently living in a hotel Monday-Friday). Defaming or harming the
reputation of the Plaintiff may have caused future customers to do business elsewhere and or
“even or bring forth doubt from a potential employer whether to hire her (this stress makes a
claim for present and future financial harm). I still must work at this facility because of the

outside retaliation of defamation has caused businesses to treat me with unscrupulous service or
no service at all. and my living arrangement has changed in a way that has me.

A. Unlawful Employment Practices
Defendant choice to ignore the Civil Rights act of 1964, which prohibits employment unlawful
acts of discrimination on the basis of race. Being called an ape in the most deceitfully disguised

way is abusive and nothing more than a dose of poison to any person’s body, mind, and soul.

Defendants employment practice SEC2000e-5 [Section 706] violation of not including or
denying a woman of color in mentorship trainings or being allowed to hold such position.

McC Ota (6/19) COMPLAINT
Case 1:21-cv-00449-PLM-PJG

Approved, SCAQ

ECF No. 1-1, PagelD.19 Filed 06/02/21 Page 14 of 15

Original - Court
{st copy - Defendant

2nd copy - Plaintiff
3rd copy - Return

 

STATE OF MICHIGAN
JUDICIAL DISTRICT
JUDICIAL CIRCUIT
COUNTY PROBATE

 

COMPLAINT
Page | of (4 pages

CASE NO.

 

 

 

Court address 180 Ottawa Avenue NW
Grand Rapids, MI 49503
re name(s), address(es), and telephone no(s).

landa. L. Meoraan
bi] Ruscwood St NE

Esrand Pao ids) ML 495e5

Court telephone no.

 

 

Plaintiff's attorney, bar no., address, and telephone no.

 

Defendant's name(s), address(es), and telephone no(s).

{seo browp

V Bee pat elogy Mt May (Deja) facility

Tne. Nadhlake Corrathi oral

ton, F
val

Bureau of Prisian
320 First Street NW
Washington ’ DC 20544

 

 

 

 

 

Defendants own Anti-Retaliation Agreement was breach when they began bullying, harassing,

exhibiting deliberate exclusionary behaviors...

etc.

Defendants, Defamation of character is a civil wrong and is a malicious act which has caused
harm to my current lifestyle and future business endeavors as well as living expectations.

B. Negligence-

Defendants breached their duties as set forth above to maintain reasonable safe and
harassment free work environment and without retaliation.

Defendants’ breach has caused defamation character to plaintiff and her future business

endeavors.

WHEREFORE, Plaintiff prays for the following relief:

Il. PRAYER OF RELIEF

i. For compensatory damages for any holistic medical cost and expenses, for future in

excess of ----------

it. For general damages for past, present and future pain suffering, and other damages in

excess of 800,000;

Date

MC 01a (6/19) COMPLAINT

Signature

SS Lil. For such other and further relief as this cour deems just and equitable.

GAR)
Case 1:21-cv-00449-PLM-PJG

Approved, SCAO

ECF No. 1-1, PagelD.20 Filed 06/02/21 Page 15 of 15

Original - Court

1st copy - Defendant

2nd copy - Plaintiff
3rd copy - Return

 

STATE OF MICHIGAN
JUDICIAL DISTRICT
JUDICIAL CIRCUIT
COUNTY PROBATE

 

COMPLAINT
Page 14 of (4 pages

CASE NO.

 

 

Court address 4180 Ottawa ‘Avenue NW.
Grand Rapids, MI 49503:

 

Plain A\ name(s), NA and telephone no(s).

landa. L. Meraan
[o4 | ON St NE

Esrand Papi ids» ML 49505

 

Plaintiff's attorney, bar no., address, and telephone no.

 

 

 

Court telephone no.

 

 

Defendant's name(s), address(es), and telephone no(s).

eo Group Tne.
Boca, Rat

25)
Bureau of Pesan
520 Fish Street NW
Washington DC 20544

ton, Fiz

 

I declare under penalty of perjury under the law of the State of Michigan that the foregoing is

true and correct.

DATED this 18". day of March, 2021.

12)

Le.

MC 01a (6/19) COMPLAINT

 

Signature

Alonda L. Morgan Ke
641 Russ Wood St. NE.
Grand Rapids, MI 495g5
(340) 244-8494
ms.morgan_awomaninchrist(@yahoo.com
Plaintiff, in Proper Person

WN aad
C

 

Nadhlake Corcathional
4455 ecology. Mey (Dafa) et: ty

 
